              Case 2:20-cr-00032-JCC Document 150 Filed 12/15/20 Page 1 of 4




 1   SUZUKI LAW OFFICES
     Attorneys at Law
 2   Richard J. Suzuki, Esq. No. 021348
     Seth Apfel Az. No. 032225
 3
     2929 E. Camelback Rd. Ste. 224
 4   Phoenix, Arizona 85016
     Phone: (602) 682-5270
 5
     Fax: 480-907-1571
 6   Attorneys@suzukilawoffices.com
 7
     Attorneys for Defendant Garza
 8
                         IN THE UNITED STATES DISTRICT COURT
 9
                           WESTERN DISTRICT OF WASHINGTON
10                                   AT SEATTLE
11                                                )   Case No.: 2:20-cr-00032-JCC
     United States of America,                    )
12                                                )
                   Plaintiff,                     )   REQUEST FOR PERMISSION TO
13                                                )   PARTICIPATE IN INTERVIEW
             vs.                                  )
14                                                )
     Johnny Roman Garza,                          )   (Defendant is Out Custody)
15                                                )
                   Defendant.                     )
16
17           Defendant, Johnny Roman Garza, by and through counsel undersigned,
18
     respectfully requests that this Court permit him to participate in a television interview via
19
20   Zoom.
21           Mr. Garza was recently sentenced, and has been permitted to remain out of
22
     custody until after the holidays. Following the sentencing, undersigned counsel received
23
24   an email from Christopher Ingalls, who is a reporter from King 5 News in Seattle. Mr.

25   Ingalls is also a victim in the case, having received a threatening letter in his mailbox.
26
27
28
                Case 2:20-cr-00032-JCC Document 150 Filed 12/15/20 Page 2 of 4




 1
            According to Mr. Ingalls, he and his station are running a series on issues related

 2   to race.     He asked specifically if Mr. Garza would be willing to participate in an
 3
     interview for that programming. He believes that Mr. Garza can help explain to his
 4
     viewers who the people are that get caught up with these groups, what motivates them,
 5
 6   and how they come to be involved in such groups.
 7
            Undersigned counsel spoke with Mr. Garza, who would like very much to
 8
     participate in the interview. As discussed during his sentencing, he wants very badly to
 9
10   make amends for his actions in this case, and to help others understand how people
11   become involved in hate groups, and to avoid such involvement. He believes this
12
     interview will be a first step in that process, one of many to come.
13
14          Mr. Ingalls indicated that he would like the interview to occur via Zoom or other
15   online video platform, since it is for television. As such, Mr. Garza seeks this Court’s
16
     permission for an exception to his release conditions to allow him to participate in the
17
18   interview.

19          Undersigned counsel contacted the assigned prosecutor, who indicated he takes no
20
     position.
21
22          Undersigned counsel contacted the assigned pretrial services officer here in

23   Arizona, who defers to the probation department in Washington.
24
            In accordance with the above, Mr. Garza seeks permission from this Court to
25
     participate in the interview with Mr. Ingalls via online video chat program as requested
26
27   by Mr. Ingalls.
28
      Case 2:20-cr-00032-JCC Document 150 Filed 12/15/20 Page 3 of 4




 1   RESPECTFULLY SUBMITTED this 15th day of December, 2020.

 2                          SUZUKI LAW OFFICES
 3
                            /s/ Seth Apfel
 4                          Seth Apfel, Esq.
                            Attorney on Behalf of Defendant Garza
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
             Case 2:20-cr-00032-JCC Document 150 Filed 12/15/20 Page 4 of 4




 1                               CERTIFICATE OF SERVICE

 2
           I hereby certify that on December 15, 2020, I electronically transmitted the
 3
 4   attached document to the Clerk's Office using the CM/ECF System for filing and
 5
     transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
 6
     Hon. John C. Coughenour
 7
     U.S. District Judge
 8   700 Stewart Street, Suite 2310
     Seattle, WA 98101
 9
10   Thomas M. Woods
     U.S. Attorney's Office
11   700 Stewart St, Ste 5220
12   Seattle, WA 98101-1271
13   Scott J. Engelhard
14   Law Office of Scott Engelhard
     1700 Seventh Ave, 2100
15   Seattle, WA 98101
16
17                                     SUZUKI LAW OFFICES

18                                     /s/ Seth Apfel
19                                     Seth Apfel
                                       Attorney on Behalf of Defendant Garza
20
21
22
23
24
25
26
27
28
